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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X
LISA RIVERA,                                                       Case No. 20-cv-1577 (JGK)(BCM)

                          Plaintiff,

                  -against-                                        RULE 7.1 DISCLOSURE
                                                                   STATEMENT
170 KINGSBRIDGE PISTILLI LLC, PISTILLI
REALTY GROUP and ANTHONY PISTILLI,

                           Defendants.
--------------------------------------------------------X

         Pursuant to Federal Rule of Civil Procedure 7.1, Defendant Pistilli Realty Group declares

it has no parent corporation and no publicly traded corporation owns ten percent (10%) or more

of its stock.

Dated: Mineola, New York
       September 10, 2020                                   MELTZER, LIPPE, GOLDSTEIN
                                                            & BREITSTONE, LLP

                                                            By: /s/ Robert S. Plosky
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TO:       All Counsel Via ECF




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